  

IN THE UNITED STATES DISTRICT COUR daa Cf nie)
FOR THE NORTHERN DISTRICT OF OHIO —-ELEVELAND

EASTERN DIVISION
UNITED STATES OF AMERICA, ) SUPERSEDING
) INDICTMENT
Plaintiff, )
) CASE NO, 1:16CR320
)
Vv. ) DISTRICT JUDGE
) DONALD C. NUGENT
)
JASAUN R. MATTICE, )
BRITTANY McTIER, ) Title 18, United States Code,
CURTIS HINTON, and ) Sections 1344(1) and (2), 513(a),
REAUNA PASS. ) 1028A(a)(1), 1349 and 2
)
)
Defendants. )
INTRODUCTION
The Grand Jury charges:

1. At all times material to this Superseding Indictment, Bank of America, Regions Bank,
US Bank, Charter One Bank, United Texas Bank and First Merit Bank, Wells Fargo Bank,
Huntington Bank, Citizens Bank and US Bank, were each financial institutions as defined in
Title 18, United States Code, Section 20(1), the deposits of which were insured by the Federal
Deposit Insurance Corporation (FDIC). Ohio Catholic Federal Credit Union was a financial
institution as defined in Title 18, United States Code, Section 20(2), the accounts of which were
insured by the National Credit Union Share Insurance Fund. CheckSmart and Eagle Express
provided check cashing services at their locations within the Northern District of Ohio.

2. Atall times material to this Superseding Indictment, defendant, JASAUN R.

MATTICE, was the sole signator on two bank accounts opened at Bank of America (accounts
ending in 8616 and 8629). MATTICE opened these accounts in the name of Sovereign Vision
Corporation DBA FUTURE VISION. ENTERPRISES, and listed himself as the
President/Secretary.

3. At all times material to this Superseding Indictment, Venture Data Limited (VDL) was
a company headquartered in Salt Lake City, Utah and was engaged in the business of telephone
surveys. VDL maintained an office in Kent, Ohio.

4. From approximately October 26, 2016, through December 19, 2016, JASAUN R.
MATTICE was an inmate at the Cuyahoga County Jail (hereinafter “CCJ”), located in
Cleveland, Ohio. As an inmate at the CCS , MATTICE was assigned a personal identification
number (hereinafter “PIN”) for purposes of making outgoing telephone calls. MATTICE used
his PIN, as well as the PIN of an individual named “Malcolm” to make outgoing telephone calls
from the CCJ.

COUNTS 1- 12
(Bank Fraud, Title 18, United States Code, Sections 1344 (1) and (2) and 2)

The Grand Jury charges:

5. The allegations contained in paragraphs | through 4 inclusive, are incorporated by
reference as if specifically re-written herein.

6. On or between October 14, 2014 and November 17, 2014, in the Northern District of
Ohio, Eastern Division, and elsewhere, defendant, JASAUN R. MATTICE, knowingly executed
and attempted to execute a scheme or artifice to defraud a financial institution; and to obtain any
of the moneys, funds, credits, assets, securities, or other property owned by, or under the custody

or control of, a financial institution, to wit: Bank of America, Ohio Catholic Federal Credit
Union, Regions Bank, US Bank, Charter One Bank, United Texas Bank, and First Merit Bank,
by means of false or fraudulent pretenses, representations, or promises.

7. As provided below, in the Northern District of Ohio, Eastern Division, and elsewhere,
Defendant executed and attempted to execute the scheme and artifice as set forth above, in that:

a. Defendant obtained the check routing numbers of various business and individual
bank accounts, without the permission of the account holders.

b. Defendant created fraudulent and/or counterfeit checks utilizing the check routing
numbers from various business and individual bank accounts, without the permission of the
account holders.

C. Defendant made these checks payable to Sovereign Vision Corp. and/or SVC
and/or Jasaun Mattice.

d. Defendant negotiated these fraudulently created and/or counterfeit checks through
his Bank of America Sovereign Vision bank accounts, and stole the moneys obtained from
negotiating the same.

e, Defendant negotiated the following fraudulent/counterfeit checks as part of his

scheme or artifice, each constituting a separate and distinct offense:

 

 

 

 

 

 

 

 

 

 

 

 

Count Payor Payee Payor Bank | Approx. | Check Amount Deposit
Date No. Into
1 St. Vincent Sovereign Ohio Catholic | 10/14/14 | 4000 $600.00 Bank of
DePaul Vision Corp | Federal Credit America
Society Union 8629
2 R.B. Sovereign Regions Bank | 10/20/14 | 3728 $100.00 Bank of
Vision Corp America
8629
3 St. Vincent Sovereign Ohio Catholic ; 10/20/14 | 4010 $2,250.81 Bank of
DePaul Vision Corp. | Federal Credit America
Society Union 8629

 

 
 

 

 

 

 

 

 

 

 

 

4 R. B. Sovereign Regions Bank | 10/24/14 3735 $1,000.00 Bank of
Vision America

8616
5 Arbeit Inc. Jasaun US Bank 10/24/14 | 244320 $526.48 Bank of
Mattice America

8616
6 Always SVC Charter One 10/28/14 9020 $1,473.52 Bank of
Towing Bank America

8616
7 Always SVC Charter One 11/02/14 9030 $3,000.00 Bank of
Towing Bank America

8629
8 R.B. Sovereign Regions Bank | 11/06/14 | 3755 $1,000.00 Bank of
Vision America

8616
9 R. B. SVC Regions Bank | 11/09/14 3759 $2,000.00 Bank of
America

8616
10 Clifford SVC Charter One 11/14/14 3000 $5,000.00 Bank of
Sheffield Bank America

LLC 8616
11 CSL SVC United Texas | 11/17/14 9000 $3,985.00 Bank of
Woodlands Bank America

LLC 8616
12 Clifford SVC Charter One 11/17/14 3001 $10,000.00 Bank of
Sheffield Bank America

LLC 8616

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1344 (1) and (2) and 2.

The Grand Jury further charges:

COUNTS 13-24

(Possessing a Counterfeit Securities, Title 18, United States Code, Sections 513(a) and 2)

On or about the dates set forth below, in the Northern District of Ohio, Eastern Division,

defendant, JASAUN R. MATTICE, did knowingly make, utter, and possess a counterfeit

security and forged security of an organization, each constituting a separate and distinct offense,

to wit:

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Count Date Check No. | Account Drawn Financial Amount
On Institution
13 10/14/14 4000 St. Vincent Ohio Catholic $600.00
DePaul Society Federal Credit
Union
14 10/20/14 3728 R.B, Regions Bank $100.00
15 10/20/14 4010 St. Vincent Ohio Catholic $2,250.81
DePaul Society Federal Credit
Union
16 10/24/14 3735 R.B. Regions Bank $1,000.00
17 10/24/14 244320 Arbeit Inc. US Bank $526.48
18 10/28/14 9020 Always Towing | Charter One Bank $1,473.52
19 11/02/14 9030 Always Towing | Charter One Bank $3,000.00
20 11/06/14 3755 R.B. Regions Bank $1,000.00
21 11/09/14 3759 RB. Regions Bank | $2,000.00
22 11/14/14 3000 Clifford Sheffield | Charter One Bank $5,000.00
LLC
23 11/17/14 9000 CSL Woodlands United Texas $3,985.00
LLC Bank
24 11/17/14 3001 Clifford Sheffield | Charter One Bank $10, 000
LLC

 

All in violation of Title 18, United States Code, Sections 513(a) and 2.

COUNT 25

(Aggravated Identity Theft, Title 18, United States Code, Sections 1028A(a)(1) and 2)

The Grand Jury further charges:

On or about October 20, 2014, in the Northern District of Ohio, Eastern Division, and

elsewhere, defendant, JASAUN R. MATTICE, during and in relation to a felony violation of

Title 18, United States Code, Sections 1344(1) and (2) (Bank Fraud, as charged in Count 2

5

 
herein), knowingly transferred, possessed and used, without lawful authority, a means of
identification of another person, to wit: R.B., knowing that said means of identification belonged
to another person, in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.
COUNT 26
(Aggravated Identity Theft, Title 18, United States Code, Sections 1028A(a)(1) and 2)

The Grand Jury further charges:

On or about October 24, 2014, in the Northern District of Ohio, Eastern Division, and
elsewhere, defendant, JASAUN R. MATTICE, during and in relation to a felony violation of
Title 18, United States Code, Section 1344(1) and (2) (Bank Fraud, as charged in Count 4
herein), knowingly transferred, possessed and used, without lawful authority, a means of
identification of another person, to wit: R.B., knowing that said means of identification belonged
to another person, in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

COUNT 27
(Aggravated Identity Theft, Title 18, United States Code, Sections 1028A(a)(1) and 2)

The Grand Jury further charges:

On or about November 6, 2014, in the Northern District of Ohio, Eastern Division, and
elsewhere, defendant, JASAUN R. MATTICE, during and in relation to a felony violation of
Title 18, United States Code, Sections 1344(1) and (2) (Bank Fraud, as charged in Count 8
herein), knowingly transferred, possessed and used, without lawful authority, a means of
identification of another person, to wit: R.B., knowing that said means of identification belonged

to another person, in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.
COUNT 28
(Aggravated Identity Theft, Title 18, United States Code, Sections 1028A(a)(1) and 2)

The Grand Jury further charges:

On or about November 9, 2014, in the Northern District of Ohio, Eastern Division, and
elsewhere, defendant, JASAUN R. MATTICE, during and in relation to a felony violation of
Title 18, United States Code, Sections 1344(1) and (2) (Bank Fraud, as charged in Count 9
herein), knowingly transferred, possessed and used, without lawful authority, a means of
identification of another person, to wit: R.B., knowing that said means of identification belonged
to another person, in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

COUNT 29
(Conspiracy to Commit Bank Fraud, Title 18, United States Code, Section 1349)

8. The allegations contained in paragraphs | through 4 of this Superseding
Indictment are repeated and realleged as if fully set forth herein.

9. Beginning in or around September 10, 2016, and continuing to in or around
January 24, 2017, in the Northern District of Ohio, Eastern Division, and elsewhere, Defendants
JASAUN R. MATTICE, BRITTANY McTIER, CURTIS HINTON, and REAUNA PASS, along
with other persons whose identities are known and unknown to the Grand Jury, did knowingly
and voluntarily combine, conspire, confederate and agree together and with each other, and with
diverse others known and unknown to the Grand Jury, to knowingly execute and attempt to
execute a scheme to defraud a federally insured financial institution, and to obtain money and

property owned by and under the custody and control of a federally insured financial institution,
by means of false and fraudulent pretenses, representations and promises in violation of Title 18,
United States Code, Sections 1344 (1) and (2).
OBJECTS OF THE CONSPIRACY

10, The object of the conspiracy was to defraud financial institutions by creating
fraudulent and/or counterfeit checks, to negotiate these fraudulent and/or counterfeit checks, and
to obtain the moneys therefrom in order to enrich the co-conspirators.

MANNER AND MEANS

11. Defendants and their co-conspirators employed the following manner and means
to attain the objectives of the conspiracy.

a. It was a part of the conspiracy that from in or around September 10, 2016,
through in or around January 24, 2017, JASAUN R. MATTICE, BRITTANY McTIER,
REAUNA PASS, CURTIS HINTON, and others, known and unknown to the Grand Jury
participated in a scheme to use the check routing number from VDL to manufacture fraudulent
and/or counterfeit checks for the purpose of cashing the same with financial institutions,
including Wells Fargo Bank, Huntington Bank, Citizens Bank, and US Bank, and obtaining the
moneys therefrom.

b. REAUNA PASS applied for a job with VDL and was trained on or about
September 10, 2016, at the Kent, Ohio location. PASS was given a paycheck for her training.
PASS, however, never showed up for work. PASS obtained the check routing number of VDL
by training with VDL for a job and being paid via check from VDL for that training.

c. While incarcerated at the CCJ, JASAUN MATTICE used the telephone at

the CCJ to direct others, including BRITTANY McTIER, REAUNA PASS, and CURTIS
HINTON, to manufacture fraudulent checks and to direct others to cash and attempt to cash the
same.

d. JASAUN R. MATTICE directed BRITTANY McTIER, and others, to
create fraudulent and/or counterfeit checks utilizing the check routing number from VDL,
without the permission of VDL.

e. JASAUN R. MATTICE directed BRITTANY MCcTIER, to make these
fraudulent VDL checks payable to others, including REAUNA PASS, CURTIS HINTON, B.A.
1 (named but not indicted herein), Z.H. (identified but not indicted herein), J.F. (identified but
not indicted herein), and B.A. 2. (identified but not indicted herein).

f. CURTIS HINTON directed B.A. | to provide B.A.1’s name and a
photograph of his identification card to an individual for purpose of the manufacture of
fraudulent and/or counterfeit checks. B.A. 1 provided his name and a photograph of his
identification card to an individual via Instagram, as directed by CURTIS HINTON.

g. CURTIS HINTON provided B.A. 1 several fraudulent/counterfeit VDL
checks for B.A. 1 to negotiate.

ACTS IN FURTHERANCE OF THE CONSPIRACY

 

12. Defendants and their co-conspirators committed one or more of the following acts
in furtherance of the conspiracy in the Northern District of Ohio, and elsewhere:
a. On or about October 27, 2016, Z.H. attempted to cash fraudulent and/or
counterfeit VDL check #42042 in the amount of $428.45 at Eagle Express, purportedly drawn on

the account of VDL at Wells Fargo Bank.
b. On or about October 27, 2016, B.A. 1 cashed fraudulent and/or counterfeit
VDL check # 42050 in the amount of $2,635.54 at Huntington Bank, purportedly drawn on the
account of VDL at Wells Fargo Bank.

c. On or about October 27, 2016, B.A. 1 cashed fraudulent and/or counterfeit
VDL check #42085 in the amount of $1,939.50 at Huntington Bank, purportedly drawn on the
account of VDL at Wells Fargo Bank.

d, On or about October 27, 2016, B.A. 1 cashed fraudulent and/or counterfeit
VDL check #42084 in the amount of $3,306.45 at Huntington Bank, purportedly drawn on the
account of VDL at Wells Fargo Bank.

e€. On or about October 28, 2016, Z.H. cashed fraudulent and/or counterfeit
check #42043 in the amount of $523.89 at CheckSmart, purportedly drawn on the account of
VDL at Wells Fargo Bank.

f. On or about October 28, 2016, CURTIS HINTON cashed fraudulent
and/or counterfeit check #42047 in the amount of $636.00 at CheckSmart, purportedly drawn on
the account of VDL at Wells Fargo Bank.

g. On or about October 28, 2016, REAUNA PASS cashed fraudulent and/or —
counterfeit VDL check #42075 in the amount of $433.26 at CheckSmart, purportedly drawn on
the account of VDL at Wells Fargo Bank.

h. On or about October 29, 2016, J. F. cashed fraudulent and/or counterfeit
check #42054 in the amount of $429.17 at CheckSmart, purportedly drawn on the account of

VDL at Wells Fargo Bank.

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i. On or about October 29, 2016, CURTIS HINTON attempted to cash a
fraudulent and/or counterfeit check #42076 in the amount of $922.68 at CheckSmart, purportedly
drawn on the account of VDL at Wells Fargo Bank.

}. On October 29, 2016, at approximately 5:15 p.m., JASAUN R.

MATTICE, while incarcerated at the CCJ, had a conversation with CURTIS HINTON on the
telephone. HINTON told MATTICE, “She needs to give me the white boy stuff (fraudulent
checks for B.A. 1). We talked about the white boy stuff. That’s it. She don’t need... she gave
me uh 8 dollars (checks totaling an amount of money) for the white boy, I’m like that ain’t even
enough (unintelligible). Eight dollars? I’m like wait a minute.” MATTICE responded, “... need
to take it up to like nine dollars and ninety-nine cent, right?” HINTON responded, “No! No, no,
no! These people like sixty and seventy years old (unwitting individuals whose bank account
was used to cash fraudulent checks) :..they had the same (bank account) for so many
years...they’ve never had no problems with this (with their bank account). They have never had
nothing...” MATTICE responded, “Ohhhhhh!!!! I see (understand) what you sayin’, You

wanna go in (go with a higher amount)?” HINTON responded, “The dude, white boy, that I’m f
----n’ with, he doin’ it (cashing fraudulent checks) because he has the same last name as them.”
MATTICE asked, “The same last name as who?” HINTON responded, “As his parents.”
HINTON continued, “It’s his parents’ stuff. It’s not his, so. But he put one in his name that has
nothing to do with J & M Industries, you know what I’m sayin’?” Later in the conversation,
MATTICE told HINTON, “This is what ’'m gonna tell her to do man, I got some easy s--t
(fraudulent checks that will pass easily), You know what I’m sayin’? It came out all the way
proper, you know what I’m sayin’? Ain’t gotta do nothin’ but hit the button on that s--t, give it a

name (place a payee name on the check) and hit the button. You know what I’m sayin’? But

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uh.. 1 make sure that s--t go into full effect. You know what I’m sayin’? Just make sure
“uh...just tell her to uh give you the VDL. VDL. Just remember that name. VDL.” HINTON
replied, “VDL?” MATTICE responded, “VDL.” HINTON replied, “VDL?” MATTICE
responded, “VDL.” HINTON then three-wayed BRITTANY McTIER into the call.

k, On or about October 31, 2016, B.A. 1 attempted to cash counterfeit and/or
fraudulent check #42091 in the amount of $1,235.56 at CheckSmart, purportedly drawn on the
account of VDL at Wells Fargo Bank.

1. On November 1, 2016, at approximately 8:31 p.m., JASAUN R.
MATTICE, while incarcerated at the CCJ, had a conversation with CURTIS HINTON on the
telephone. MATTICE told HINTON, “Everything I gave you is good (all of the fraudulent
checks should clear).” HINTON responded, “Listen to me boss, the white boy (B.A. 1) already
done uh....blew down on me about it....sayin’ that they (the checks) was fraud or some s--t.
That’s what the bank told him.” MATTICE responded, “Tell that m-----f-----r to produce some
paperwork. If the bank told him that, there’s a statement to say that. There’s a receipt. Tell that
n-----r to send pictures or somethin’...because at this point there ain’t no time for no one to be
lying and playing no games, boy. This s--t is first time right here, bro (this set of fraudulent
checks have never been used before).” Later in the conversation, MATTICE told HINTON,
“That s--t ain’t never been touched (that account and those fraudulent checks have never been
used before),” and told him, “! been doing this for too long, bro.... This don’t happen that fast,
bro (banks don’t discover checks are fraudulent this quickly).” MATTICE asked HINTON,
“You ain’t go with that m-----f------ r from point A, B to C (did you go to the bank with B.A. 1)?”
HINTON responded, “Yeah! Everybody was there for real. They sat there and watched him.”

MATTICE responded, “I ain’t even talked with the girls (BRITTANY McTIER and REAUNA
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PASS) yet.” HINTON responded, “They (the girls) was there. They was in the parking lot.”
HINTON then told MATTICE, “They (the girls) gave me some more (checks), I took them (the
checks) to somewhere else, and they said the same thing. They said the “P (fraud) word.”
MATTICE asked HINTON, “What did you all drop in there (what check did you try to cash)?
Give me the name on it.” HINTON responded, “Bryan Arnold and ...”. MATTICE corrected
him by saying, “No, no, no, no, no, the name in the top left corner.”. HINTON replied, “Some
Salt Lake City s--t.’ MATTICE responded, “That’s perfect! That s--t should have never came
back fraud. Hell, fuckin’ naw. Let me call that man.”

m. On November 1, 2016, at approximately 8:36 p.m., JASAUN MATTICE, while
incarcerated at the CCJ, had a conversation with BRITTANY McTIER on the telephone.
MATTICE told McTIER, “I just called that m-----f----r, Man, that n----r lyin’.”, McTIER asked,
“What he say?” MATTICE responded, “He talkin’ ‘bout everything came back with an ‘f
(fraud) on it. Ain’t no s--t come back with an ‘f on it when I find out what the f--k he using
(which fraudulent checks were being used). He tell me Salt Lake City. Yeah, Salt Lake City,
that s--t been (unintelligible)...that s--t ain’t been touched (these fraudulent checks have not been
used before)...” REAUNA PASS then joined the telephone call. MATTICE instructed PASS
to call another male. PASS did so. MATTICE told the male, “J need a favor man. I got
$8,000... I need him to go get Juvi and go over there and get this $8,000 this n----r just ran off
with. Send Juvi over there to go get that money.” MATTICE later provided an address to PASS
and the male on the telephone to go get the male that had stolen MATTICE’s $8,000.

MATTICE also relayed to PASS the conversation he had with “Curt (HINTON)” regarding the
fraudulent VDL checks. PASS told MATTICE that HINTON told PASS “‘f--- y--” regarding the

VDL checks. MATTICE then instructed PASS to tell “Ju (Juvi)” to “take one of the shooters
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(guns) up there and blaze his (HINTON’s) ass (shoot him), but first bruise (beat) him, then blaze
him.” PASS then relayed the message to “Ju (Juvi)” while still on the telephone with
MATTICE. MATTICE then had HINTON three-wayed into the call and told HINTON he better
“m----r f+---n’ hide.”

n. On November 1, 2016, at approximately 8:59 p.m., JASAUN MATTICE, while
incarcerated at the CCJ, had a conversation with CURTIS HINTON on the telephone. During
the conversation, MATTICE berated HINTON regarding the VDL checks, claiming that the
fraudulent checks were “golden,” and “that is why I gave them to you.” MATTICE told
HINTON, “You f----n’ with me and you my right hand n----r. You ain’t doin’ what you
supposed to be doin’, bro! You know it!” MATTICE told HINTON that “everybody got to play
their f----n’ position (everyone has to do their assigned task/job).”, MATTICE continued, “How
the f--k am I the mastermind runnin’ s--t from inside (of the jail) and I can’t even get the people I
f--k with and depend on to come together as one, as one f----n’ unit?” MATTICE told HINTON |
that he needed to have “superior control” and that “this (manufacturing and cashing fraudulent
checks) is business. Business first.”

All in violation of Title 18, United States Code, Section 1349.

COUNTS 30-39
(Bank Fraud, Title 18, United States Code, Sections 1344 (1) and (2) and 2))

The Grand Jury further charges:

15. The allegations contained in paragraphs 1 through 4, inclusive, are incorporated by
reference as if specifically re-written herein.

16, On or between approximately September 10, 2016 and January 24, 2017, in the

Northern District of Ohio, Eastern Division, and elsewhere, defendants, JASAUN R. MATTICE,
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BRITTANY McTIER, CURTIS HINTON, REAUNA PASS, and others, known and unknown to
the Grand Jury, knowingly executed and attempted to execute a scheme or artifice to defraud a
federally insured financial institution; and to obtain money and property owned by and under the
custody and control of a federally insured financial institution by means of false and fraudulent
pretenses, representations, or promises.

17. As provided below, in the Northern District of Ohio, Eastern Division, and
elsewhere, JASAUN R. MATTICE, BRITTANY McTIER, CURTIS HINTON, REAUNA
PASS, and others known and unknown to the Grand Jury, executed and attempted to execute a
scheme and artifice to defraud financial institutions and to obtain money and property as set forth
above, in that:

a. REAUNA PASS obtained the check routing number of VDL by training with
VDL for a job and being paid via check from VDL for that training.

b. JASAUN R. MATTICE directed BRITTANY McTIER, and others, to create
fraudulent and/or counterfeit checks utilizing the check routing number from VDL, without the
permission of VDL.

C. JASAUN R. MATTICE directed BRITTANY MCcTIER, to make these fraudulent
and/or counterfeit VDL checks payable to others, including REAUNA PASS, CURTIS
HINTON, B.A. 1 (identified but not indicted herein), Z.H. (identified but not indicted herein),
J.F. (identified but not indicted herein), and B.A. 2 (identified but not indicted herein).

d. JASAUN R. MATTICE directed BRITTANY McTIER and CURTIS HINTON,
to provide others, including REAUNA PASS, B.A. 1, Z.H. and J.F., fraudulent and/or

counterfeit VDL checks for these individuals to negotiate and obtain moneys as part of this

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scheme and artifice, each fraudulent/counterfeit VDL check constituting a separate and distinct

 

 

 

 

 

 

 

 

 

 

offense:
Count | Payor & DEFENDANT\(S) Payor Approx. | Check | Amount Cashed
Payee Bank Date No. at/Att.
Cashing
30 Venture Wells 10/27/16 | 42050 | $2, 635.54 | Huntington
Data, LLC JASAUN R. Fargo Bank
MATTICE Bank, NA
(B.A, 2)
31 Venture Wells 10/27/16 | 42085 | $1,939.53 Huntington
Data, LLC JASAUN R. Fargo Bank
MATTICE Bank, NA
(B.A.1)
32 Venture . Wells 10/27/16 | 42084 | $3,306.45 | Huntington
‘Data, LLC JASAUN R. Fargo Bank
MATTICE Bank, NA
(B.A. 2)
33 Venture JASAUN R. Wells 10/27/16 | 42042 | $428.45 Eagle
Data, LLC MATTICE Fargo Express/
Bank, NA Citizens Bank
(Z.H.) (Attempt)
34 Venture JASAUN R. Wells 10/28/16 | 42043 | $523.89 | CheckSmart/
Data, LLC MATTICE Fargo US Bank
Bank, NA
(Z.H.)
35 Venture CURTIS HINTON Wells 10/28/16 | 42047 | $636.00 | CheckSmart/
Data, LLC Fargo US Bank
JASAUN R. Bank, NA
CURTIS MATTICE
HINTON
36 Venture REAUNA PASS Wells 10/28/16 | 42075 | $433.26 | CheckSmart/
Data, LLC Fargo US Bank
JASAUN R. Bank, NA
REAUNA MATTICE
PASS
37 Venture JASAUN R. Wells 10/29/16 | 42054 | $429.17 CheckSmart/
Data, LLC MATTICE Fargo US Bank
Bank, NA
(J.F.)

 

 

 

 

 

 

 

 

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38 Venture JASAUN R. Wells 10/29/16 | 42076 | $922.68 CheckSmart/
Data, LLC MATTICE Fargo US Bank
Bank, NA (Attempt)
CURTIS HINTON
39 Venture Wells 10/31/16 | 42091 | $1, 235.56 | CheckSmart/
Data, LLC JASAUN R. Fargo US Bank
MATTICE Bank, NA (Attempt)
(B.A. 1)

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1344 (1) and (2) and 2.

COUNTS 40-44

(Possessing Counterfeit Securities, Title 18, United States Code, Sections 513(a) and 2)

The Grand Jury further charges:

On or about the dates set forth below, in the Northern District of Ohio, Eastern Division,

defendants, JASAUN R. MATTICE, BRITTANY McTIER, REAUNA PASS, CURTIS

HINTON, and B.A. 1 (named but not indicted herein) did knowingly make, utter, and possess a

counterfeit security and forged security of an organization, and/or aid or abet the same, each

constituting a separate and distinct offense, to wit:

 

 

 

 

 

 

 

 

 

Count | Payor & | DEFENDANT(S) | Approx. | Check | Financial Amount
Payee . Date No. Institution
40 Venture REAUNA PASS | 10/28/16 | 42075 Check $433.26
Data, LLC Smart/US
JASAUN R. Bank
REAUNA MATTICE
PASS
41 Venture 10/27/16 | 42050 | Huntington | $2,635.54
Data, LLC JASAUN R. Bank
MATTICE
(B.A.2)
42 Venture 10/27/16 | 42085 | Huntington | $1, 939.53
Data, LLC JASAUN R. Bank
MATTICE
(B.A.1)

 

 

 

 

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43 Venture 10/27/16 | 42084 | Huntington | $3, 306.45
Data, LLC JASAUNR.  . Bank
MATTICE
(B.A.2)
44 Venture CURTIS HINTON | 10/28/16 | 42047 Check $636.00
Data, LLC Smart/US
JASAUN R. Bank
CURTIS _MATTICE
HINTON

 

 

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 513(a) and 2.

A TRUE BILL.

Original document -- Signatures on file with the Clerk of Courts pursuant to the E-Government
Act of 2002

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